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STEVEN N. EDWARDS,
Plaintiff,
v. No. 04-2975-DP

I)AIMLERCHRYSLER CORPORATION,

Defendant.

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ORDER DENYING DEFENDANT’S MOTION TO 'I`RANSFER VENUE

 

This matter is before the Court upon the motion of DaimlerChrysler Corporation
(“Defendant”) to transfer venue. For the following reasons, this Court DENIES Defendant’s
motion to transfer this case to the United States District Court for the Eastern District of Michigan.

1. FACTUAL AND PROCEDURAL BACKGROUND

Defendant is a Delaware corporation, has its headquarters in Auburn Hills, Michigan, and
at the time of the alleged actions giving rise to the claim, conducted business in Tennessee. Steven
N. Edwards (“Plaintit`t") is an adult citizen of Collierville, Shelby County, Tennessee. Plaintiff
became employed by DaimlerChrysler Corporation (or its predecessor) on April l, 1974. In 2002,
Plaintiff Was the Regional Administrative Manager for Defendant’s l\/Iemphis Zone Office Which
included approximately eighty (80) employees ln late 2001 or early 2002, Defendant decided to
close its Memphis Zone Office and either lay off or transfer the Mempliis employees Plaintiff Was
laid off on July 12, 2002. At or near that time, Plaintiff alleges that he was given documents by

Defendant, entitled “Summary of Total Compensation Prot`essional~AdminiStrative and Management

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Employees Indeflnite Layoff” and “Income Protection Plan Summary Plan Description”
(collectively, “the Plans”). The Plans set forth four options for payment of lay-off benefits by
DaimlerChrysler. Plaintiff states that he elected the Lump Sum Payment option under the Plans.
Defendant paid no lay-off benefit payments of any kind under any of the four options to Plaintiff
after he was laid off on July 12, 2002.

On November 30, 2004, Plaintiff filed a Complaint in the United States District Court in the
Western District of Tennessee, Western Division, alleging that Defendant violated federal and state
laws, namely the Employee Retirement lncome Security Act of 1974 (“ERISA”), 29 U. S.C. §§ 1001 ,
Ls_e_q. and Tennessee common law breach of contract. Plaintiff also seeks a declaratory judgment
against Defendant.

On January 18, 2005, Defendant filed motions to transfer venue pursuant to 28 U.S.C. §
1404(a) and for partial dismissal pursuant to Fed. R. Civ. P. 12(b)(6). The Court will now address
Defendant’s motion to transfer the instant case to the Eastern District of Michigan.

Il. LEGAL STANDARD

The decision to transfer a case on venue grounds is largely a discretionary determination
Unlike jurisdiction, which is a question of the court’s power to hear a case, venue is a question of
the litigants’ convenience, and refers only to the forum in which a lawsuit should be heard. &:§
Neirbo v. Bethlehem Shipbuilding Corr)., 308 U.S. 165, 167-68 (1939); M<Lney
Ugine Kuhlmann, 853 F.2d 445, 454 (6th Cir. 1988).

Venue is controlled by statute _S_e_e Fed. R. Civ. P. 82; 15 Wright, Miller, & Cooper, MLal
Practice & Procedure. Jurisdiction 2d § 3802 (West 1986). In federal court, the general venue

statutes are codified at 28 U.S.C. §§ 1391-92. Title 28, section 1391(b) of the United States Code

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provides that:

[a] civil action wherein jurisdiction is not founded solely on diversity of citizenship

may, except as otherwise provided by law, be brought only in (1) a judicial district

Where any defendant resides, if all defendants reside in the same State, (2) a judicial

district in which a substantial part of the events or omissions giving rise to the claim

occurred, or a substantial part of property that is the subject of the action is situated,

or (3) a judicial district in which any defendant may be found, if there is no district

in which the action may otherwise be brought
28 U.S.C. § 1391 (b).

Title 28, section 1404 of the United States Code grants the district court the power to change
venue if transfer Would be in the best interests of the parties, witnesses, and justice. The statute
provides that “ [f] or the convenience of parties and witnesses, in the interest of j ustice, a district court
may transfer any civil action to any other district or division where it might have been brought.” 28
U.S.C. § 1404(a).

As a general rule, however, the plaintiffs choice of venue should be honored. Rutherford v.

Goodyear Tire & Rubber Co., 943 F.Supp. 789, 791 (W.D. Ky. 1996), affirmed,142 F.3d 436 (6th

 

Cir. 1998) (citing Gu]f Oil Corp. v. Gilbert, 330 U.S. 501, 505 (1947)). The party seeking transfer
of venue bears the burden of demonstrating that transfer is appropriate Blane v. American lnvestors
Qgp_., 934 F.Supp. 903, 907 (M.D. Tenn. 1996). The plaintiffs choice of venue is not the sole
determinative factor. Roberts Metals. Inc. v. Florida Properties Marketing Group` Inc., 138 F.R.D.

89 (N.D. Ohio 1991), affirmed, 22 F.3d 104 (6th Cir. 1994). In ruling on a motion to transfer venue,

 

a court should consider the private interests and convenience of the parties, the convenience for
potential witnesses, and public interest concerns, such as systemic integrity, fairness, and judicial
economy. l\/Ioses v. Business Card EXD.. Inc., 929 F.2d 1131, 1137 (6th Cir. 1991); § also Reed

v. Fina Oil & Chemical Co., 995 F.Supp. 705, 713 (E.D. Texas 1998); 15 Wright, Miller, & Cooper,

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F ederal Practice & Procedure. Jurisdiction 2d § 3849 (West 1986). Ultimately, the standard for
granting transfer pursuant to 28 U.S.C. § 1404 is left to the discretion of the courts. SteM
Organization= Inc., 487 U.S. at 29. The court may base its decision on almost any grounds, provided
that they are reasonable, First Michigan Corp. v. Bramlet, 141 F.3d 260, 262 (6th Cir. 1998), as a
district court has broad discretion in determining whether or not to grant a motion to transfer venue

under 28 U.S.C. § 1404(a). Phelps v. McClellan, 30 F.3d 65 8, 663 (6th Cir. 1994); see also Stewart

 

Organization, lnc. v. Ricoh Co;p., 487 U.S. 22, 31 (1988).

III. ANALYSIS

ln considering Defendant’s motion to transfer venue, the Court must engage in a two-part
inquiry. First, it must determine whether the action “rnight have been brought” in the United
States District Court for the Eastem District of Michigan. Second, the Court must determine
whether change of venue would facilitate the “convenience of the parties and witnesses” and
serve "‘the interests of justice.”

Defendant is a Delaware corporation, headquartered in Michigan, that has conducted
business in Tennessee. The first part of the inquiry requires little attention because Defendant
does not argue that the current venue is impermissible under 28 U.S.C. § 1391; nor has Plaintiff
argued that § 1391 prohibits the instant case from being heard in the Eastern District of
l\/lichigan. Both parties appear to recognize that under § 1391, this claim could be heard in either
venue.

The second part of the test requires more consideration As a general rule, “unless the

balance [of convenience] is strongly in favor of the defendant, the plaintiffs choice of forum

should rarely be disturbed.” Gulf Oil, 330 U.S. at 505 (1947). Since Plaintiff has chosen the

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present forum, which is admittedly convenient for him, Defendants must present strong evidence
that a change of venue is appropriate

To support its § 1404 motion, Defendant urges the court to transfer this case for the
convenience of the parties and in the interest of justice Defendant states that both it and some of
its Income Protection Plan (“IPP”) administrators may be called as witnesses Defendant is
headquartered in Michigan and its IPP administrators live in or around Aubum HillsJ Michigan.
Defendant notes that two of these potential witnesses were identified by Plaintiff in his
Complaint, namely, JoAnn Hatfield and Steve Farley. Citing one of the multifarious factors
acknowledged by the Gulf Oil Court, Defendant focuses this Court’s attention on the
compulsory process factor for the proposition that its employees may not be availed to serve as

witnesses Gulf Oil, 330 U.S. at 508 (1947); see also Burnstein v. Applied Extrusion

 

Technologies= Inc., 829 F.Supp. 106, 113 (D. Del. 1992) (cited for the proposition that the
attendance of a defendant’s employees can not be compelled by the defendant without assistance
of the court). Plaintiff, however, argues that Defendant disingenuously relies on Gulf Oil to
support its motion. The Court agrees with the Plaintiff and finds the §_ulf@ reasoning more
persuasive to Plaintiff"s position. The M Court stated that “unless the balance is strongly in
favor of the defendant, the plaintiffs choice of forum should rarely be disturbed.” @Lf_Qj_l, 330
U.S. at 508 (emphasis added). Anticipating the effectiveness or lack thereof, of the Courts
compulsory process against potential witnesses standing alone, does not strongly favor
Defendant’s choice of venue ln addition to anticipating the ineffectiveness of compulsory
process of its employees however, Defendant argues that its IPP would incur substantial

disruption and increased costs if forced to litigate in Tennessee. Defendant also points to the

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inconvenience posed by its books and records being located in l\/lichigan. These are all factors
which must be weighed in the overall venue equation. The Court, however, finds neither of these
arguments so persuasive as to tip the balance in favor of Defendant.

Defendant further urges the Court to transfer this case in the interest of justice, and relies

on Fox v. Massev-Ferauson. Inc., 1994 U.S. Dist. LEXIS 8285 (1994), to support this argument
The Court finds that Defendant’s reliance on w is misplaced. w was a class action suit where
the plaintiff-employee choice of forum was held to be entitled to less weight than it would in a
non-class action case M, 1994 U.S. Dist. LEXIS 8285, at *12. The w Court found
dispositive the potential cost on an ERISA defendant forced to litigate suits based on where its
retirees were living. Certainly, this would be dispositive in a class action lawsuit. This is not a
class action lawsuit, however. The facts in this case can further be distinguished from M.
Unlike in FM, wherein the selected forum was simply a state where former employees had
retired, Plaintiff in this case was employed by Defendant in the state of Tennessee, and the claim

arose from alleged actions that occurred in Tennessee.
IV. CONCLUSION

F or the reasons stated above, this Courts finds that Defendant has not demonstrated cause

for relief. Accordingly, the Court DENIES Defendant’s motion to transfer venue

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IT IS SO ()RDERED this day of June, 2005.

BE CE BO DONALD
UNITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02975 was distributed by faX, mail, or direct printing on
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